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Ao 91 (Rev. 1 1/1 1) criminal complaint l m@m§§§? nl draw
UNITED STATES DISTRICT CoURT JUL i 3 2018
for the
Southern District of Texas , mcf com
United States of America )
v. ) . M
Josue Taedo LoPEz ) Case N°- \l"\ ’( @“" \\'( %\
DOB; 1995 )
_, citizenship: uSA §
)
Defendant(s)
CRIMINAL COMPLAINT`
l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Ju|y 12, 2018 in the county of Hidalgo in the
Southem District of Texas , the defendant(s) violated:
Code Section . l Offense Descrz'ption
21 USC § 952 . |llega| lmportation of a Controlled S,ubstance./ Approximate|y 5.44 Kilograms

of Cocaine, a~Schedu|e ll Controlled Substance

This criminal complaint is based on these facts:

See Attachment "A"

d Continued on the attached sheet.

k Complainant ’s signature
zz l 9\ f Bradiey M. Gaines u, Hsl Special Agent

 

 

      
 

Printed name and title

Sworn to before'm`e and signed in my presence.

Date: _ ' 07/13/2018 ‘ . 4 ‘(W
Judge ’s signature "`*__'*’_
City and State: MCA"en' Texas .S. Ma istrate Judge J. Scott Hacker

/ Printed name and title

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Attachment “A”

._ _l,' B_radley-M. Gaines ll,',am a Special Agent with the United States (U.S.) Department of
Hor_neland.iSecurity (DHS), lmmigration and Customs Enforcement (ICE), Homeland Security
lnvestigations (HSI), and have knowledge of the following facts:

l. On -J'uly 12, 2018, HSI McAllen received a request for investigative assistance from the U.S.
Customs and Border Protection (CBP) Offlce of Field Operations (OFO) at the Progreso Port
of Entry (POE) in Progreso, Texas. CBP Offlcers (CBPOS) detained Josue Tadeo LOPEZ
(hereafter referred to as “LOPEZ”), a United States Citizen, after he attempted to enter the U.S.
with approximately 5.44 kilograms (kg) of cocaine concealed within the center console and
dashboard!.of a Dodge Charger (hereafter referred to as “Load Vehicle’_’). The Load Vehicle is
registered land insured to LOPEZ. _

2. During Primary Inspection, CBP Offlcers (CB'POS) obtained a negative oral declaration for
fruits`, food, alcohol, tobacco, drugs, weapons and currency over $l0,000.00 from LOPEZ.
LOPEZ claimed ownership of the Load Vehicle. CBPOS observed that LOPEZ was not making
eye contact during questioning Documented crossing history of the Load Vehicle revealed only
a single outbound crossing on July lO, 2018. Due to the lack of eye contact during questioning
and the lack of documented crossing history, CBPOs referred the Load Vehicle for Secondary
Inspection, _ 4

3. During Secondary Inspection, LOPEZ claimed ownership of the Load Vehicle. LOPEZ stated
that had traveled to Mexico to visit family. LOPEZ stated that he was travelling horne to
Houston, Texas. During questioning, CBPOS observed that LOPEZ was avoiding eye contact
and would repeat each question asked by CBPOs.

4. During"a` physical search of the Load Vehicle, CBPOs discovered six (6) vacuum sealed
packages concealed within the center console and the dashboard of the Load Vehicle. CBPOS
field tested'the substance inside the packages, which was positive for the characteristics of
cocaine.

5 . -HSI SAs responded to the Progreso POE to assist in the investigation. HSI SAs interviewed
LOPEZ who admitted (Post-Miranda Warning) that he was hired by an individual to smuggle
cocaine in t_o the U.S and would be compensated

6. LOlSEZ will be charged with Illegal lmportation of a Controlled Substance, in violation of
21 USC § 952.

